                                                         FILED: March 25, 2025


                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT


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                                  No. 25-1153
                             (8:25-cv-00201-DLB)
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CASA, INC.; ASYLUM SEEKER ADVOCACY PROJECT, INC.; MARIBEL,
Individually and as next friend to her future child, c/o CASA, Inc.; JUANA,
Individually and as next friend to her future child, c/o CASA, Inc.; TRINIDAD
GARCIA, Individually and as next friend to her future child, c/o Asylum Seeker
Advocacy Project; MONICA, Individually and as next friend to her future child,
c/o Asylum Seeker Advocacy Project; LIZA, Individually and as next friend to
her future child, c/o Institute for Constitutional Advocacy and Protection

            Plaintiffs - Appellees

v.

DONALD J. TRUMP, In his official capacity as President of the United States,
c/o Attorney General of the United States; SECRETARY OF THE UNITED
STATES DEPARTMENT OF STATE, In their official capacity; ATTORNEY
GENERAL OF THE UNITED STATES, In their official capacity; SECRETARY
OF THE UNITED STATES DEPARTMENT OF HOMELAND SECURITY, In
their official capacity, c/o Office of the General Counsel; DIRECTOR OF
UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES, In their
official capacity, c/o Office of the Chief Counsel; COMMISSIONER OF THE
SOCIAL SECURITY ADMINISTRATION, In their official capacity, c/o Office
of the Chief Counsel; UNITED STATES OF AMERICA, c/o Attorney General of
the United States

            Defendants - Appellants
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MEMBERS OF CONGRESS; THE STATE OF TENNESSEE; AMERICA'S
FUTURE; CITIZENS UNITED; CONSERVATIVE LEGAL DEFENSE AND
EDUCATION FUND; GUN OWNERS FOUNDATION; GUN OWNERS OF
AMERICA, INC.; LEADERSHIP INSTITUTE; U.S. CONSTITUTIONAL
RIGHTS AND LEGAL DEFENSE FUND

                Amici Supporting Appellants

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                                       ORDER
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       Upon consideration of appellants’ unopposed motion to expedite oral

argument, the court grants the motion. The case shall be scheduled at the court’s

September 2025 sitting.

                                        For the Court

                                        /s/ Nwamaka Anowi, Clerk
